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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                    8:10CR193

      vs.
                                                                    ORDER
JOHN N. GRIFFY,

                    Defendant.


       This matter is before the Court on the Defendant’s motion for a reduction in

sentence (Filing No. 131).

       This is the Defendant’s second request for a reduction.             In denying the

Defendant’s first motion, the Court stated:

              The Defendant pleaded guilty to Count I of the Superseding
       Indictment, which charged him with conspiring to distribute and possess
       with intent to distribute 5 grams or more of a mixture or substance
       containing crack cocaine. The Defendant was held responsible for 55.58
       grams of cocaine base, resulting in the application of base offense level
       26. He was sentenced at the low end of his sentencing guideline range to
       92 months imprisonment. Under the amendments to the crack cocaine
       guidelines, the Defendant's sentencing guideline remains unchanged at
       92-115 months.

(Filing No. 117.)

       In his second motion, the Defendant argues he is entitled to a reduction under

Dorsey v. United States of America, 132 S. Ct. 2321 (2012). However, after applying

Dorsey the Defendant’s base offense level remains at level 26, which includes a

quantity of at least 28 but less than 112 grams of cocaine base. The Defendant is not

entitled to relief. Absent any further change in the law or sentencing guidelines, further

motions for a reduction in sentence will be summarily denied.
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     IT IS ORDERED:

     1. The Defendant’s motion for a reduction in sentence (Filing No. 131) is denied;

        and

     2. The Clerk is directed to mail a copy of this Order to the Defendant at his last

        known address.

     Dated this 30th day of August, 2012.

                                                BY THE COURT:
                                                s/Laurie Smith Camp
                                                Chief United States District Judge




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